Case 2:05-CV-02428-SHI\/|-tmp Document 25 Filed 08/19/05 Page 1 of 2 Page|D 16

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DIs'FR:cT OF TENNESSEE 05 AUG |9 AH 5= 5|
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THE cHARTER oAK FIRE INSUR_ANCE W/D Cv” 'F“."‘-JM»§'TPE!(SMT

IL.F"»‘Y
COMPANY a/s/o West Tennessee Communications,

 

Plaintiff,

VS. NO. 05-2428hMaP
BROAN NUTONE, LLC,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the August 9, 2005, motion for admission
pro hac vice of Patrick J. Hodan. Mr. Hodan is a member in good
standing of the bar of the state of Wisconsin and is admitted to
practice before the United States District Court for the Eastern
Districts of Wisconsin, and the United States Court of Appeals
for the Seventh Circuit. Mr. Hodan has obtained and is familiar
With the local rules and professional guidelines of this court.
For good cause shown, the motion is granted and Patrick J. Hodan
is admitted to participate in this action as co-counsel for
defendant Broan Nutone, LLC.

lt is so ORDERED this japtfwy of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CV-02428 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

